Case 2:20-cv-05581-DSF-GJS        Document 402 Filed 02/21/25        Page 1 of 22 Page ID
                                        #:7573        OIRIC'I NAL
                                                           ,~.~:''-- ~~i
      1EDWARD HELDMAN III
       10614 West Crosby Drive
     2 Sun City Arizona 85351                              1~1~ F~'~3 ~)
       201.679.7428                                                        P~ ~:36
     3 Eheldman.ProPer(a~proton.me
     4                                                               +;

     5 I I Defendant In Pro Per
     6
     7
     8                        UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
    11    B EYOND              B L O N D           Case No. 2:20-cv-05581-DSF-GJSx
    12
          PRODUCTIONS,LLC,a California
          Limited Liability Company,
    13
                                                   REPLY RE MOTION FOR
                                      Plaintiff,   JUDGMENT ON THE PLEADINGS ~
    14
                                                   AND/OR FOR MORE DEFINITE
          u                                        STATEMENT POST-BANKRUPTCY•
    15
                                                   MOTION TO RECONSIDER ALL ~
          EDWARD HELDMAN III an                    PENDING PRE-BANKRUPTCY    D
    16
          individual; COMEDYMX, II~C., a           ORDERS• MOTION TO STAY    ~C
          Nevada Corporation;COMEDYMX,             ACTION SENDING COMPLETION
    17    a Delaware Limited Liability             OF BANKRUPTCY CHAPTER 11
          Company,                                 PLAN'S DAMAGES PAYOUT;
    18
                                                   DECLARATION OF EDWARD
                                   Defendants      HELDMAN III ;MEMORANDUM
    19
          COMEDYMX,a Delaware Limited              Date: March 3, 2025
    20    Liability Company,                       Time: 1:30 p.m.
    21                      Counter-claimant,      Hon. Dale S. Fischer, Judge
    22    v.                                       Courtroom: 7D
                                                              50 West First Street
    23    BEYOND BLOND                                        Los Angeles, CA 90012
          PRODUCTIONS,LLC, a
    24    California Limited Liability
          Company,
    25
                          Counter-Defendant.
    26

    27
                              REQUEST FOR JUDICIAL NOTICE
    28
                The Court is requested to take judicial notice ofthe Reply re Application for
                          REPLY RE MOTIONS FOR JUDGMENT ON THE PLEADINGS,ETC.
Case 2:20-cv-05581-DSF-GJS         Document 402 Filed 02/21/25          Page 2 of 22 Page ID
                                         #:7574



     1 ~ Order Continuing Motions for Sanctions and Related Motion to Compel;Declaration
     2 ~ of Edward Heldman; Exhibit 4, incorporated herein by reference.[Attachment A].

     3     1.     ABUSIVE LITIGATION TACTICS vs. SO-CALLED ABUSIVE E-
                  MAILS
     4
                  The filings and e-mails ofPlaintiff's counsel["MK"]are part and parcel ofhis
     5
           abusive litigation practices. I have spent over $300,000 on each of the different
     6~
           lawyers, and hundreds of thousands more on a variety of other attorneys, largely to
     7
           fend offthese abusive tactics, by attorneys who routinely likened MK to Roy Cohn,
     8
           the gay-baiting, McCarthyite, mob lawyer who died of AIDS after being disbarred,
     9
           but who refused to resort to similar tactics.
    10
                  MK routinely includes in his long-winded e-mails and court filings threats of
    11
           sanctions,including on my current motions,even though there is clear reasonableness
    12
           in seeking reconsideration in light of huge changed circumstances. See Stacy v.
    13
           Colvin,825 F.3d 563,      (9`h Cir. 2016);Disimone v. Browner, 121 F.3d 1262, 1266
    14
          (9`h Cir. 1997). The Court must consider whether other changed circumstances exist
    15
           or a manifest injustice would otherwise result. Thomas v. Bible, 983 F.2d 152, 155
    16
          (9`~ Cir. 1993).
    17
                  MK attaches correspondence, claiming they are abusive because of content
    18
          re himself which he publishes by filing. When I send a separate e-mail, he attaches
    19
          it to a chain to "reconstruct" it. He is now using four attorneys, more than prior to the
    20
          BK Settlement, which now provides a capital flow to his client. His current
    21
          oppositions are extraordinarily lengthy.
    22
                  Meanwhile, I have lost my life's work in th CMX companies, I am broke,
    23
          barely supporting myself and my 83-year old mother, who recently and currently is
    24
          battling a severe respiratory infection, and affording only occasional, limited lawyer
    25
          consultations to deal with this. I am on psychotropic medications prescribed to help
    26
          me deal with alcoholism, and its underlying issues,including extreme anxiety that is
    27
          severely heightened by the abusive litigation tactics and constant threats oftotal ruin,
    28
          and medication side-effects. Most recently,I suffered severe symptoms over the past
                             REPLY RE MOTIONS FOR NDGMENT ON THE PLEADINGS,ETC.
Case 2:20-cv-05581-DSF-GJS         Document 402 Filed 02/21/25          Page 3 of 22 Page ID
                                         #:7575



      1    7-10 days, making this filing difficult to complete, both due to time issues and the
     2     health aggravating nature of the subject matter of the tasks.
     3     2.     DISCOVERY AND PRELIMINARY INJUNCTION, SANCTIONS
                  ORDERS vs. FULLY SETTLED CLAIMS
     4
                  MK could have responded to those motions by simply stating — at least —the
     5
           remaining post-BK Settlement liability and damages claims, my supposed liability not
     6
           covered by the BK Settlement, what need remains for a preliminary injunction, what
     7
           outstanding discovery remains appropriate, and what orders are then necessary. He
     8
           does none ofthis, implying that there are none. He should be compelled to answer all
     9
           ofthese questions. Could the court ordered discovery referee decide anything without
    l0
           these answers? And ifthose answers would be required then, why not now before any
    11
           fiirther waste oftime and resources, much less the debilitating health consequences.
    12
          3.      LITIGATION PRIVILEGE vs. IN CURRENT PRO PER DEFENSE
    13
                  MK gets to engage in these abusive litigation tactics while hiding behind the
    14
           almost absolute litigation privilege. Does not that now afford me the same shield?
    15
          4.      REPRESENTING PLAINTIFF vs. REPRESENTING SELF
    16
                  MK has refused to provide answers to any of the questions posited by my
    17
          ~' motions, implying that there are none, and that he is no longer actually litigating on
    18
          behalfof, or being paid by, his client —Plaintiff— but is litigating on behalfofhimself
    19
           alone: MK vs. me, with a claim for vengeance and retribution. He should be
    20
          compelled to answer all ofthese questions,i.e. whether there is any claims being truly
    21
          advanced for Plaintiff, and if so what; and including on whose behalf he seeks
    22
          sanctions.                          CONCLUSION
    23
                  Defendant Heldman therefor requests entry of one or more of the alternative
    24
          orders sought.
    25
          Dated: February 20, 2025                         Respectfully submitted,
    26

    27
                                                          Edward Heldman III, In Pro Per
    28

                             REPLY RE MOTIONS FOR JUDGMENT ON THE PLEADINGS,ETC.
Case 2:20-cv-05581-DSF-GJS   Document 402 Filed 02/21/25   Page 4 of 22 Page ID
                                   #:7576
Case 2:20-cv-05581-DSF-GJS     Document 402 Filed 02/21/25          Page 5 of 22 Page ID
                                     #:7577



     1  EDWARD HELDMAN III
        10614 West Crosby
     2 Sun City, Arizonna 85351
       (201)679-7428
     3 Eheldman.ProPer@proton.me

     4

     5   Defendant Appearing in Pro Per
     6

     7

     8                       UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
    10

    11
          B EYOND              B L O N D          Case No. 2:20-cv-05581-DSF-GJSx
    12
          PRODUCTIONS,LLC,a California
          Limited Liability Company,                  Honorable Dale S. Fischer
    13
                                    Plaintiff,    REPLY RE APPLICATION FOR
    14
                                                  ORDER CONTINUING MOTIONS
          ►~                                      FOR SANCTIONS AND RELATED
    15
                                                  MOTION TO COMPEL;
          EDWARD HELDMAN III an                   DECLARATION OF EDWARD
    16
          individual; COMEDYMX, I1~C., a          HELDMAN
          Nevada Corporation; COMEDYMX,
    17
          a Delaware Limited Liability
          Company,
    18
                                Defendants.
    19
          RELATED COUNTER-CLAIMS
    20

    21
               The following declaration is submitted in reply. Re Application for Order
    22
         Continuing Motions for Sanctions and Related Motion to Compel.
    23
         Dated: February 20, 2025       Respectfully submitted,
    24
                                                         /s/
    25                                     war     e man I- n ro er
    26
                       DECLARATION OF EDWARD HELDMAN III
    27
               1. Iam Defendant Edward Heldman III, appearing in Pro Per.
    28

                           REPLY RE APPLICATION TO CONTINUE AND/OR EXTEND
Case 2:20-cv-05581-DSF-GJS         Document 402 Filed 02/21/25          Page 6 of 22 Page ID
                                         #:7578



      1           A.     ABUSIVE LITIGATION TACTICS vs. SO-CALLED ABUSIVE
                         E-MAILS
     2
                  2. The filings and e-mails of Plaintiff's counsel ["MK"] are part and parcel
     3
          of his abusive litigation practices.
     4
                  3. I have spent over $300,000 on each ofthe different lawyers, and hundreds
     5
          of thousands more on a variety of other attorneys, largely to fend off these abusive
     6
          tactics, by attorneys who routinely likened MK to Roy Cohn, the gay-baiting,
     7
          McCarthyite, mob lawyer who died of AIDS after being disbarred, but who refused
     8
          to resort to similar tactics.
     9
                 4. MK routinely includes in his long-winded e-mails and court filings threats
    10
          of sanctions, including on my current motions, even though there is clear
    11
          reasonableness in seeking reconsideration in light of huge changed circumstances.
    12
          See Stacy v. Colvin,825 F.3d 563,      (9`" Cir. 2016);Disimone v. BrowneY, 121 F.3d
    13
          1262, 1266 (9`h Cir. 1997). The Court must consider whether other changed
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          circumstances exist or a manifest injustice would otherwise result. Thomas v. Bible,
    15
          983 F.2d 152, 155 (9`" Cir. 1993).
    16
                 5. MK attaches correspondence,claiming they are abusive because ofcontent
    17
          re himself which he publishes by filing.
    18
                 6. When I send a separate e-mail, MK attaches it to a chain to "reconstruct"
    19
          it, and then resume the old chain.
    20
                 7. MK is now using four attorneys, more than prior to the BK Settlement,
    21
          which now provides a capital flow to his client. His current oppositions are
    22
          extraordinarily lengthy.
    23
                 8. Meanwhile, I have lost my life's work in th CMX companies,I am broke,
    24
          barely supporting myself and my 83-year old mother, who recently and currently is
    25
          battling a severe respiratory infection, and affording only occasional, limited lawyer
    26
          consultations to deal with this.
    27
                 9. I am on psychotropic medications prescribed to help me deal with
    28
          alcoholism, and its underlying issues, including extreme anxiety that is severely
                               REPLY RE APPLICATION TO CONTINUE AND/OR EXTEND
Case 2:20-cv-05581-DSF-GJS       Document 402 Filed 02/21/25           Page 7 of 22 Page ID
                                       #:7579



     1    heightened by the abusive litigation tactics and constant threats of total ruin, and
     2    medication side-effects.
     3           10. Most recently, I suffered severe symptoms over the past 7-10 days,
     4    making this filing difficult to complete, both due to time issues and the health
     5    aggravating nature of the subject matter of the tasks. [Exhibit 4].
     6           B.     DISCOVERY AND PRELIMINARY INJUNCTION,SANCTIONS
                        ORDERS vs. FULLY SETTLED CLAIMS
     7
                 1 1. MK could have responded to those motions by simply stating — at least
     8
          — the remaining post-BK Settlement liability and damages claims, my supposed
     9
          liability not covered by the BK Settlement, what need remains for a preliminary
    10
          injunction, what outstanding discovery remains appropriate,and what orders are then
    11
         ~ necessary.
    12
                 12. MK does none of this, implying that there are none.
    13
                 13. ML should be compelled to answer all of these questions.
    14
                 14. Could the court ordered discovery referee decide anything without these
    15
         answers? And if those answers would be required then, why not now before any
    16
         further waste oftime and resources, much less the debilitating health consequences.
    17
                 C.     LITIGATION PRIVILEGE vs. CURRENT PRO PER DEFENSE
    18
                 15. MK gets to engage in these abusive litigation tactics while hiding behind
    19
         the almost absolute litigation privilege. Does not that now afford me the same shield?
    20
                 D.     REPRESENTING PLAINTIFF vs. REPRESENTING SELF
    21
                 16. MK has refused to provide answers to any ofthe questions posited by my
    22
         motions, implying that there are none, and that he is no longer actually litigating on
    23
         behalfof,or being paid by,his client —Plaintiff— but is litigating on behalfofhimself
    24
         alone: MK vs. me, with a claim for vengeance and retribution.
    25
                 17. He should be compelled to answer all of these questions, i.e. whether
    26
         there is any claims being truly advanced for Plaintiff, and if so what; and including
    27
         on whose behalf he seeks sanctions.
    28

                              REPLY RE APPLICATION TO CONTINUE AND/OR EXTEND
Case 2:20-cv-05581-DSF-GJS       Document 402 Filed 02/21/25         Page 8 of 22 Page ID
                                       #:7580



     1           18. MK evidentiary objections presuppose this is a trial of the merits.
     2           I declare under penalty ofperjury under the laws ofthe State ofCalifornia that
     3    the above is true and correct. Executed on February 20, 2025, at Sun City, Arizona.
     4
                                                             /s/
     5                                              ~dEw   F~ldman
     6

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                             REPLY RE APPLICATION TO CONTINUE AND/OR EXTEND
Case 2:20-cv-05581-DSF-GJS   Document 402 Filed 02/21/25   Page 9 of 22 Page ID
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Case 2:20-cv-05581-DSF-GJS     Document 402 Filed 02/21/25 Page 10 of 22 Page
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              ~      P9P M. J/~MIt            PUN: CTA%                                              P9P: M. J~IAII               PLAN: RIIX                           ~     ~
                     urG~.TEVA                GROuo~ 72158BB                                         MF47E~A                      GAWoi 7215888
              ~      SEM SEM~SEM iEM          CLAIM RED+ 2505D5)06205001998                          SEM-$EM.SEM ~SEM             ClA1M I1EF125050570b20500~ 898


                      '        O    ~ +fin w wM~ ~M R~ K I,Mawi                                       ~~~~ x~.wcw.n+w ~t w.n.+w                                   ~—
                                      PH:16231979-2180                                                     PN:16231979-2780
                                                                                                                                                                           ,.-X
              Pharmacy tree only
                                                                                                                                         i YELLOW
                                              CIONAZEPAM 0.5MG TABLETS                           QTY 28                                    FRONT:TEVA

                          a:z~Pnn             000s3 083205                                                                                  BACK: 832
              ~vEo                                                                               10 DRA"d
            New -E                            H3 fAST RACK                                                                                                  Mad Gwde
                                                                                                                      Sep+ SErn 5EM   SEM
Case 2:20-cv-05581-DSF-GJS      Document 402 Filed 02/21/25.~ Page 13 of 22 Page
                                     ID #:7585




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        R~           NNE~~M~CY                                     ~ .~~ ~
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                     T AX                                          (l, ~ltl
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                     C A`~H                                        d. ClQ
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Case 2:20-cv-05581-DSF-GJS        Document 402 Filed 02/21/25     Page 14 of 22 Page
                                       ID #:7586




                                                     Fry's
                                      ~
           p DWARD H ELDM~N
           E                                         Pharma~Y
                                                                  MANY 66000122
            ~B • ~9/28/~ 972                         CRY S PHAR

                                                                   5D5VE
           1 0614 W CROSBY WAY                      10660 NW GRA
                                                                  80
           SAN CITY, AZ 85351                       SUN CITY768
           pH:(623) 755-6404                        P H:(623) 8
                                                             0316833
                                                    N CPDP:

           Safety Caps                                                     ~~A
                                                       DATE: 02/10/2025
           RX#: 6604831               *New Rx*
                                    TABLET
           VITAMIN B-1 100 MG

          NDC: 806$1-0098-0
                            MOTH DAILY
          TAKE 1 TABLET BY




          QTY: 30          DAYS SUPPLY: 30

          DAW:0      1.67 REFILLS OF 90 UNTIL 02/09/2026
                                        BILL T0: AETNA BH MEDICAID-ADV ~ x
         PRE BRIBER:
         J ZHONG                        PRICE: $0.00
         NPI: 1427448893
         AUTH#: 250414000540302
         YOUR INSURANCE BENEFIT SAVED YOU: X7.49



     RX# 6604831     02/10/2025               RX# 6604831        02/1012025
           EDWARD HELDMAN                        HIPAA Acknowledgement
                                                         on file
       X------------------
         AUTHORlZEDSIGNATURE
                                                                                 ---..~„~1~~
Case 2:20-cv-05581-DSF-GJS
                    Document 402 Filed 02/21/25                                               Page 15 of 22 Page
    PRODUCE iNFp~~T~~    ID #:7587
    DRUG: VITAMIN 8.~ ~p0
                          MG TABLET
    GENERIC NAME: THIgM~ N~ . pRAI - (TNYE-~-
    NDC:80681.0098-00
                                                                         ~ ~
    Color: white
    Shape: round

   SIDE EFFECT This vita
                    S:            min usually has no side
   doctor p~ phar
                   macist promptly. A very serious effects. It you have any unusual effects, contact your
   help right                                          aller
               away if you notice any symptoms o(a gic reaction to this drug is rare. However, get med,cai
   ~°SpeCjally of the lace/tonguelthroat),               serious allergic reaction, including: rash,
   possible                                   severe dizziness, troub breathing. This is not a ~tchingtsweliing
              side effects. it you notice other effects               le                          complete list of
                                                         not listed above, contact your doctor or pharmacist.
   M ASSED DOS
   dose, skip E: if you miss a dose, take it as soon as you remember. if it is near the time of the nett
                the missed dosQ. Take your next
                                                     dose at the regular time. Do not double the dose to catch up
   STpgAGE: Diffe
                       rent brands of this vitamin have
    i nstructions on haw                                  different storage needs. Check the product package for
                          to store your brand, or ask your phar
    medications away from child                                    macist. Do not store in the bathroom. Keep all
                                     ren and pets. Do not flush medications down the toilet or pour
    d rain unless instructed                                                                         them into a
                               to do so. Properly discard this product when it is expired or longe need
    Consult your pharmacist or                                                                no      r     ed.
                                    local waste disposal company.




                                                                                                                     N
                                                                                                                     O
                                                                                                                     N
                                                                                                                     N
                                                                                                                     O

   Call your doctor for medical advice                                                                               O
                                       about side effects. You may report side effects toFDA at
   1-800-FDA-1088
   Do not flush unused medications or
                                        pour down a sink or drain.
   I MPO  RTA NT: HOW TO USE THIS INFORMATI
   i nformation about this product.         ON: This is a summary and does NOT have all possible

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              LOYALTY #                 Pos # 111111 IIIII IIIIIIII IIIIIIII IIIIIIII IIIIIIIIIIIIII111111
Case 2:20-cv-05581-DSF-GJS      Document 402 Filed 02/21/25      Page 16 of 22 Page
                                     ID #:7588

                       r                                   I(I

                                                    Fry's
       EQwARa HE~QMAN                               P harmacy
       QQB:09/28/1972                               FRY'S PHARMACY 66000122

       1 Q614 W CR05BY WAY                          10660 NW GRAND AVE
       SUN CITY, AZ 8351                            S UN CITY. AZ 85351
       PH:(623) 755-6404                            P H:(623) 876-8220
                                                    N CPDP:031633
       Safety Caps
       RX#: 6604818        *New Rx*                   DATE: 02/1012025
       OXcarbazepine 150 MG TABLET

       NDC: 31722-0023-01
       TAKE 1 TABLET BY MOUTH EVERY NIGHT AT BEDTIME




       QTY: 30             DAYS SUPPLY: 30
        DAW:0       ~ .67 REFILLS OF 90 UNTIL 02/09J2026

       J ZHONG                        PRICE:$0.00
       N P I : 142748893
       AUTH#: 250413749786066
        YOUR INSURANCE BENEFIT SAVED YOU: ~a19.99



    RX# 6604818            02/10/2025         RX# 6604818             02/10/2025
            EDWARD HELDMAN                        HIPAA Acknowledgement
                                                          on file
       X------------------
         AUTHORIZEDSIGNATURE
 Case 2:20-cv-05581-DSF-GJS                  Document 402           Filed 02/21/25         Page 17 of 22 Page
 pRQDUGT INFORMAT~'~N: AZ ID #:7589
 DRUG: OXcarbazepine 150 Mc~ tABLET                   peen)
 GENERIC NAME: OXCARBAZEPINE -ORAL - (ox-kar-BA~-zih-
 NDC: 31722-0023-01                      ,
Color: brown                                             Imprint 1: V
Shape: oval                                              Imprint 2: 7 6

                                                                                       bdommal pain,
SIDE EFFECTS: Dizziness, drowsiness, tiredness, nausea/vom~t~ng, stomact~'a
headache, troublQ sleeping, or constipation ma occur. li an of these effects      last  or get worse, tell your
                                                                                          because your docro~
doctor or pharmacist promptly. Remember that t~s med~cat~on has been prescribed using this
has judged that the benefit to you is greaser than the risk of side effects. Many people
                                                                                      anticonvu~sants for anY
medication do not have serious side effects. A small number of people who take
cond~Gon (such as seizurQ, bipolar d+sorder, pain) may experience depression, suicidal your
                                                                                       you or
thoughtslattempts, or other mental/mood problems. Tell your doctor right away ifbehavior
                                                                       thoughts,  or            including signs
tamely/caregiver notice any unusual/sudden changes in your mood,                                   right away ~~
of depression, suicidal thoughts/attempts, thoughts about harming yourself. Tell your doctordouble
                                                                                              as
you have any serious side elects, including: loss of coordination, vision changes (such unusual
                                                                                     uising,           tiredness.
vision), rapid/uncontroliable eye movements, shaking (tremor}, easy      bleeding/br
                                                                                              infection  (such
 Gel medical help right away it you have any very serious side effects, including: signs of sodium level
 as (ever, swollen lymph nodes, sore throat that doesn't go away, cough), symptoms o1 low               serious
(severe nausea, extreme drowsiness, confusion, seizures). Oxcarbazepine may rare►y cause very h
                                                                                               AsianlSout
 (possibly fatal) skin reactions. Some people in certain ethnic groups (including people of             you
Asian descent) are at greater risk. Your doctor may order a blood test to measure your risk before
                                                                                                     the risks
 start this medication, If the blood test shows you are at greater risk, your doctor should discuss
and benefits of oxcarbazepine and other treatment choices with you. Such skin reactions         have
developed mostly within the first few months of treatment. Get medical help right away if you develop
s ymptoms of a serious skin reaction such as skin rash/blisters/peeling, itching, or swelling. Ask your
doctor or pharmacist for more details. A very serious allergic reaction to this drug is rare. However, g~'t
medical help right away if you notice any symptoms of a serious allergic reaction, including: rash,
itching/swelling (especially of the face/tongue/throat}, severe dizziness, trouble breathing. This is note;3
complete list of possible side effects. If you notice other effects not listed above, contact your doctor or
pharmacist.

MISSED QOSE: If you miss a dose, take it as soon as you remember, If it is near the time of the next
dose, skip the missed dose. Take your next dose at the regular time. Do not double the dose to catch up.

STORAGE: Store at room temperature away from light and moisture. Do not store in the bathroom. Keep
all medications away from children and pets. Do not flush medications down the toilet or pour them into a           1

drain unless instructed to do so. Properly discard this product when it is expired or no longer needed.             N
                                                                                                                    O
Consult your pharmacist or local waste disposal company.                                                            N
                                                                                                                    N
                                                                                                                    O
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Call your doctor for medical advice about side effects. You may report side effects toFDA at
1-800-FDA-1088
Do not flush unused medications or pour down a sink or drain.
IMPORTANT: HOW TD USE TH/S INFORMATION; This is a summary and does NOT have all possible
information about this product.
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           LOYALTY #               Pos # IIIIIIIIIII tIIIIIIIIIIIIIIIIllllllIIIIIIIIIIIIIIIIII III
Case 2:20-cv-05581-DSF-GJS         Document 402 Filed 02/21/25   Page 18 of 22 Page
                                        ID #:7590
                          a

                                                        Fry's
       EDWARD HELC~MAN                                  P harmacy
       ~o~: o9i2a~~97z                                  FRY'S PHARMACY 66~OQ122

       1 Q614 W CROSBY WAY                              10660 NW GRAND AVE
       SUN CITY, AZ 85351                               SUN CITY, AZ 85351
       PH:(623} 755-6404                                PH:(623j 876-822q
                                                        NCPDP: Q316833
        Safety Caps
        R X#; 66Q4817                 *New Rx*            DATE: 02/10/2025
        N ALTREXONE 50 MG TABLET

        N pC: 47335-0326-88
        TAKE 1 TABLET BY MQUTH DAILY




        QTY: 30               DAYS SUPPLY: 30
        aq~: p       1.67 REFILLS OF 90 UNTIL 02/09/2026
              C`R~
       J ZHONG                           PRICE: 50.00
       N PI: 1427448$93
       RUTH#: 25041 3749471 1 70
        YOUR INSURANCE BENEFIT SAVED YOU: 583.49



    RX# 6604817               02/10/2025        RX# 6604817           02~~ 0~2a25
            EDWARD HELDMAN                          HIPAA Acknowledgement
                                                            on file
       X
           AUTHORIZED SIGNATURE
Case 2:20-cv-05581-DSF-GJS                 Document 402            Filed 02/21/25        Page 19 of 22 Page
PRODUCT INFORMA` ~ N: AZID #:7591
DRUG: NALTREXONE SO MG TABLET             -...,
GENERIC NAME: NALTREXONE -ORAL • (nal-~FREX-One}
NDC: 47335-0326-88
Color: yellow
                                    Imprint 1:f326
Shape: round


SIDE EFFECTS: Nausea, headache,
                                          diumess, anxiety, tiredness, and troub=e sieepmg may occur. In a
small number of people, mild op~ala
                                         withdrawal symptoms may occur, meluding abdominal cramps,
restlessness, bone/oini pain, muscle
                                          aches, and runny nose. I( any of these effects last or get worse, teal
your doctor or pharmacist promptly.
                                         Remember that this rned~cation has been prescribed because your
doctor has judged that the benef~l to you is
                                                greater than the risk of side effects. Many people using this
m edication do nat havo serous side effects. Sudden
                                                           opiate withdrawal symptoms can occur w~th;n
m inutes attar taking naltrexone, Tell your doctor
                                                      right away if any withdrawal symptoms occur, including.
abdominal cramps, nausealvomiting, diarrhea, joint/bone/muscle
                                                                       aches, mental/mood changas (such as
anxiety, confusion, oxtreme sleepiness, visual hallucinations), runny nose. Naitrexone
                                                                                             has rarely caused
serious liver disease. Tho risk ~s increased whop larger doses are used. Discuss the risks and benefits
 with your doctor. Tell your doctor right away i( you deve~op symptoms of Inver disease, ~nc~ud~ng:
 nauseafvomiting that doesn't stop, severe stomach/abdominal pain, dark urine, yeilow~ng eyes/skin. A
 very serious allergic reaction to this drug is rare. However, get medical help right away if you notrce anY
symptoms of a serious allergic reaction, including: rash, aching/swelling (especially of the
 face/tonguelthroat), severe dizziness, trouble breathing. This is not a complete list of possible side
 effects. I( you notice other effects not listed above, contact your doctor or pharmacist.

MISSED DOSE: I( you miss a dose, take ~t as soon as you remember. If it is near the time of the next
dose, skip the missed dose. Take your next dose at the regular time. Do not double the dose to catch up•

STORAGE: Store at room temperature away from light and moisture. Do not store in the bathroom. Keep
all medications away from children and pets. Do not flush medications down the toilet or pour them into a
drain unless instructed to do so. Properly discard this product when it is expired or no longer needed.
Consult your pharmacist or local waste disposal company.




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Call your doctor for medical advice about side effects. You may report side effects toFDA at
1 -800-FDA-1088
Do not flush unused medications or pour down a sink or drain.
IMPORTANT: HOW TO USE THIS INFORMATION:This is a summary and does NOT have all possible
i nformation about this product.
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           LOYALTY #                Pos # IIIII111111 IIIIIIIIIIIIIIII IIIIIIIIIIIIIIIIIIIIIIII IIII
Case 2:20-cv-05581-DSF-GJS          Document 402 Filed 02/21/25               Page 20 of 22 Page
                                         ID #:7592




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                                      ID #:7593



     1                                 PROOF OF SERVICE
     2   STATE OF ARIZONA
                                                    SS
     3   COUNTY OF MARICOPA
     4          I,the undersigned, certify that I am a citizen ofthe United States, over the age
     5   of 18 years, residing in the County of Maricopa, State of Arizona.
    6           On February 20, 2025, I caused to be served a true copy of
    7           REPLY RE APPLICATION FOR ORDER CONTINUING MOTIONS FOR
                SANCTIONS AND RELATED MOTION TO COMPEL;DECLARATION
     8          OF EDWARD HELDMAN
    9
         on the Plaintiff by e-mail, whose address is:
    l0
    11
       Milord A. Keshishian
       Milord Law Group,PC
    12
       333 S. Hope Street, Suite 4025
       Los An eIes, CA 90071
    13
       milord~a milordlaw.com

    14          I declare under penalty of perjury that the above is true and correct. Executed

    15   on Febniary 20, 2025, at Sun City, Arizona.

   16

   17                                                            /s/
                                                     war     e man       - n ro er
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                             REPLY RE APPLICATION TO CONTINUE AND/OR EXTEND
Case 2:20-cv-05581-DSF-GJS       Document 402 Filed 02/21/25           Page 22 of 22 Page
                                      ID #:7594



     1                                 PROOF OF SERVICE
     2

     3 I I STATE OF ARIZONA

     4                                              SS
     5   COUNTY OF MARICOPA
    6

     7          I,the undersigned, certify that I am a citizen ofthe United States, over the age
    8    of 18 years, residing in the County of Maricopa, State of Arizona.
    9~          On February 20, 2025, I caused to be served a true copy of
    l0          REPLY RE MOTION FOR JUDGMENT ON THE PLEADINGS AND/OR
                FOR MORE DEFINITE STATEMENT POST-BANKRUPTCY; MOTION
    11          TO RECONSIDER ALL PENDING PRE-BANKRUPTCY ORDERS•
                MOTION TO STAY ACTION PENDING COMPLETION OFD
    12          BANKRUPTCY CHAPTER 11 PLAN'S DAMAGES PAYOUT;
                DECLARATION OF EDWARD HELDMAN III
    13

    14   on the Plaintiff by e-mail, whose address is:
    15
       Milord A. Keshishian
    16
       Milord Law Group, PC
       333 S. Hope Street, Suite 4025
    17
       Los An eIes, CA 90071
       milord~a milordlaw.com
    18
                I declare under penalty ofperjury that the above is true and correct. Executed
    19
         on February 20, 2025, at Sun City, Arizona.
   20

   21

   22                                            Edward Heldman III - In Pro Per
   23

   24

   25

   26

   27

   28

                           REPLY RE MOTIONS FOR JUDGMENT ON THE PLEADINGS,ETC.
